JS 44C/SDNY               Case 1:23-cv-10098-DLC CIVIL
                                                 Document
                                                       COVER2SHEET
                                                               Filed 11/16/23 Page 1 of 2
REV.
10/01/2020             The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
                       other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                       United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                               DEFENDANTS
Casandra Ventura                                                                         Sean Combs; Bad Boy Entertainment; Bad Boy Records; Epic Records,
                                                                                         Combs Enterprises, LLC; And Doe Corps. 1-10

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                   ATTORNEYS (IF KNOWN)
Douglas H. Wigdor, Esq.    Wigdor LLP
Meredith A. Firetog, Esq.  85 Fifth Avenue, 5 Floor New York NY 10003
Michael J. Willemin, Esq. (212)257-6800

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
                        (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

Sex Trafficking under 18 U.S.C. § 1591

                                                                                                                                                  Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No                        Yes

If yes, was this case Vol.       Invol.      Dismissed. No           Yes        If yes, give date _______________________ & Case No. ______________________

I                                                    No             Yes

(PLACE AN [x] IN ONE BOX ONLY)                                     NATURE OF SUIT
                              TORTS                                                                                      ACTIONS UNDER STATUTES



CONTRACT                      PERSONAL INJURY              PERSONAL INJURY            FORFEITURE/PENALTY                 BANKRUPTCY                      OTHER STATUTES
                                                           [ ] 367 HEALTHCARE/
                                                           PHARMACEUTICAL PERSONAL [ ] 625 DRUG RELATED                                                  [ ] 375 FALSE CLAIMS
[ ] 110     INSURANCE         [ ] 310 AIRPLANE                                                                           [ ] 422 APPEAL
[ ] 120     MARINE            [ ] 315 AIRPLANE PRODUCT     INJURY/PRODUCT LIABILITY                                               28 USC 158             [ ] 376 QUI TAM
                                                                                       SEIZURE OF PROPERTY
[ ] 130     MILLER ACT                 LIABILITY           [ ] 365 PERSONAL INJURY           21 USC 881                  [ ] 423 WITHDRAWAL              [ ] 400 STATE
[ ] 140     NEGOTIABLE        [ ] 320 ASSAULT, LIBEL &              PRODUCT LIABILITY                                             28 USC 157                      REAPPORTIONMENT
                                                                                      [ ] 690 OTHER
            INSTRUMENT                 SLANDER             [ ] 368 ASBESTOS PERSONAL                                                                     [ ] 410 ANTITRUST
[ ] 150     RECOVERY OF       [ ] 330 FEDERAL                       INJURY PRODUCT                                                                       [ ] 430 BANKS & BANKING
            OVERPAYMENT &              EMPLOYERS'                   LIABILITY         PROPERTY RIGHTS                                                    [ ] 450 COMMERCE
            ENFORCEMENT                LIABILITY                                                                                                         [ ] 460 DEPORTATION
            OF JUDGMENT       [ ] 340 MARINE               PERSONAL PROPERTY             [ ] 820 COPYRIGHTS     [ ] 880 DEFEND TRADE SECRETS ACT         [ ] 470 RACKETEER INFLU-
[ ] 151     MEDICARE ACT      [ ] 345 MARINE PRODUCT                                     [ ] 830 PATENT                                                           ENCED & CORRUPT
[ ] 152     RECOVERY OF                LIABILITY           [ ] 370 OTHER FRAUD                                                                                    ORGANIZATION ACT
                                                                                         [ ] 835 PATENT-ABBREVIATED NEW DRUG APPLICATION
            DEFAULTED         [ ] 350 MOTOR VEHICLE        [ ] 371 TRUTH IN LENDING                                                                               (RICO)
            STUDENT LOANS     [ ] 355 MOTOR VEHICLE                                      [ ] 840 TRADEMARK                                               [ ] 480 CONSUMER CREDIT
            (EXCL VETERANS)            PRODUCT LIABILITY                                                                 SOCIAL SECURITY
[ ] 153     RECOVERY OF                                                                                                                                  [ ] 485 TELEPHONE CONSUMER
                              [ ] 360 OTHER PERSONAL
            OVERPAYMENT                INJURY              [ ] 380 OTHER PERSONAL        LABOR                           [ ] 861 HIA (1395ff)                    PROTECTION ACT
            OF VETERAN'S       [ ] 362 PERSONAL INJURY -            PROPERTY DAMAGE                                      [ ] 862 BLACK LUNG (923)
            BENEFITS                   MED MALPRACTICE     [ ] 385 PROPERTY DAMAGE       [ ] 710 FAIR LABOR              [ ] 863 DIWC/DIWW (405(g))      [ ] 490 CABLE/SATELLITE TV
[ ] 160     STOCKHOLDERS                                            PRODUCT LIABILITY              STANDARDS ACT         [ ] 864 SSID TITLE XVI          [ ] 850 SECURITIES/
            SUITS                                                                        [ ] 720 LABOR/MGMT              [ ] 865 RSI (405(g))                     COMMODITIES/
[ ] 190     OTHER                                          PRISONER PETITIONS                      RELATIONS                                                      EXCHANGE
            CONTRACT                                       [ ] 463 ALIEN DETAINEE        [ ] 740 RAILWAY LABOR ACT                                       [ ] 890 OTHER STATUTORY
[ ] 195     CONTRACT                                       [ ] 510 MOTIONS TO            [ ] 751 FAMILY MEDICAL          FEDERAL TAX SUITS
                                                                                                                                                                  ACTIONS
            PRODUCT           ACTIONS UNDER STATUTES                VACATE SENTENCE      LEAVE ACT (FMLA)
            LIABILITY                                               28 USC 2255                                       [ ] 870 TAXES (U.S. Plaintiff or   [ ] 891 AGRICULTURAL ACTS
[ ] 196 FRANCHISE             CIVIL RIGHTS                 [ ] 530 HABEAS CORPUS         [ ] 790 OTHER LABOR                   Defendant)                [ ] 893 ENVIRONMENTAL
                                                           [ ] 535 DEATH PENALTY                  LITIGATION          [ ] 871 IRS-THIRD PARTY                     MATTERS
                                                           [ ] 540 MANDAMUS & OTHER      [ ] 791 EMPL RET INC                  26 USC 7609               [ ] 895 FREEDOM OF
                              [ ] 440 OTHER CIVIL RIGHTS
                                                                                                  SECURITY ACT (ERISA)                                            INFORMATION ACT
                                      (Non-Prisoner)
REAL PROPERTY                                                                                                                                            [ ] 896 ARBITRATION
                              [ ] 441 VOTING                                          IMMIGRATION
                                                                                                                                                         [ ] 899 ADMINISTRATIVE
[ ] 210      LAND             [ ] 442 EMPLOYMENT            PRISONER CIVIL RIGHTS
             CONDEMNATION     [ ] 443 HOUSING/                                        [ ] 462 NATURALIZATION                                                PROCEDURE ACT/REVIEW OR
[ ] 220      FORECLOSURE                ACCOMMODATIONS [ ] 550 CIVIL RIGHTS                    APPLICATION                                                  APPEAL OF AGENCY DECISION
[ ] 230      RENT LEASE &     [ ] 445 AMERICANS WITH        [ ] 555 PRISON CONDITION  [ ] 465 OTHER IMMIGRATION                                           [ ] 950 CONSTITUTIONALITY OF
             EJECTMENT                  DISABILITIES -      [ ] 560 CIVIL DETAINEE             ACTIONS
                                        EMPLOYMENT                                                                                                        STATE STATUTES
[ ] 240      TORTS TO LAND                                     CONDITIONS OF CONFINEMENT
[ ] 245      TORT PRODUCT      [ ] 446 AMERICANS WITH
             LIABILITY                  DISABILITIES -OTHER
[ ] 290      ALL OTHER          [ ] 448 EDUCATION
             REAL PROPERTY




          Check if demanded in complaint:
                                                                     DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.
          CHECK IF THIS IS A CLASS ACTION                            AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
          UNDER F.R.C.P. 23                                          IF SO, STATE:

DEMAND $______________ OTHER ______________ JUDGE _________________________________ DOCKET NUMBER_________________

Check YES only if demanded in complaint
JURY DEMAND:              YES       NO                               NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
                        Case 1:23-cv-10098-DLC Document 2 Filed 11/16/23 Page 2 of 2
(PLACE AN x IN ONE BOX ONLY)                                                   ORIGIN
   1 Original            2 Removed from                3 Remanded          4 Reinstated or          5 Transferred from       6 Multidistrict
                                                                                                                               Litigation
                                                                                                                                                         7 Appeal to District
                                                                                                                                                           Judge from
     Proceeding            State Court                   from                Reopened                   (Specify District)
                                                                                                                                (Transferred)               Magistrate Judge
                                                         Appellate
                          a. all parties represented     Court
                                                                                                                             8 Multidistrict Litigation (Direct File)
                          b. At least one party
                              is pro se.
(PLACE AN x IN ONE BOX ONLY)                                    BASIS OF JURISDICTION                                                 IF DIVERSITY, INDICATE
   1 U.S. PLAINTIFF          2 U.S. DEFENDANT              3 FEDERAL QUESTION    4 DIVERSITY                                          CITIZENSHIP BELOW.
                                                              (U.S. NOT A PARTY)

                                CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
       (Place an [X] in one box for Plaintiff and one box for Defendant)

                              PTF    DEF                                                     PTF DEF                                                          PTF       DEF
CITIZEN OF THIS STATE         [ ]1   [ ]1      CITIZEN OR SUBJECT OF A                       [ ]3[ ]3         INCORPORATED and PRINCIPAL PLACE                [ ]5      [ ]5
                                                FOREIGN COUNTRY                                               OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE      [ ]2   [ ]2      INCORPORATED or PRINCIPAL PLACE               [ ]4[ ]4         FOREIGN NATION                                  [ ]6      [ ]6
                                                OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)




DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)




DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




I hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.



Check one:      THIS ACTION SHOULD BE ASSIGNED TO:                                   WHITE PLAINS                             MANHATTAN

DATE 11/16/23                                                                                       ADMITTED TO PRACTICE IN THIS DISTRICT
                              SIGNATURE OF ATTORNEY OF RECORD                                       [ ] NO
                                                                                                    [ ] YES (DATE ADMITTED Mo.09_______ Yr. 2000
                                                                                                                                            _______)
RECEIPT #                                                                                           Attorney Bar Code # DW-9737


Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge _________________________________________________________ is so Designated.

Ruby J. Krajick, Clerk of Court by _____________ Deputy Clerk, DATED _____________________.

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
